    Case: 1:19-cv-02339 Document #: 41 Filed: 11/06/19 Page 1 of 2 PageID #:389




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    JOHN BONELL, individually and on               )
    behalf of similarly situated individuals,      )
                                                   )
    Plaintiff,                                     ) No. 19-cv-02339
                                                   )
                           v.                      ) Honorable John Robert Blakey
                                                   )
    COFFEE MEETS BAGEL, INC., a                    )
    Delaware corporation,                          )
                                                   )
    Defendant.                                     )
                                                   )

                           NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff John Bonell voluntarily dismisses this

action against Defendant Coffee Meets Bagel, Inc. Plaintiff’s dismissal is without prejudice

pursuant to Fed. R. Civ. P. 41(a)(1)(B).

Date: November 6, 2019                          Respectfully submitted,
                                                JOHN BONELL, individually and on behalf of a
                                                class of similarly situated individuals
                                                /s/ Jad Sheikali
                                                One of Plaintiff’s Attorneys


Evan M. Meyers
Jad Sheikali
MCGUIRE LAW, P.C.
55 W. Wacker Drive, 9th Fl.
Chicago, IL 60601
Tel: (312) 893-7002
emeyers@mcgpc.com
jsheikali@mcgpc.com
Counsel for Plaintiff and the Putative Class
    Case: 1:19-cv-02339 Document #: 41 Filed: 11/06/19 Page 2 of 2 PageID #:390




                                CERTIFICATE OF SERVICE

       I hereby certify that, on November 6, 2019, I caused the foregoing Notice of Voluntary

Dismissal to be electronically filed with the Clerk of the Court using the CM/ECF system. A copy

of said document will be electronically transmitted to all counsel of record.



                                                     /s/ Jad Sheikali




                                                 2
